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                         EXHIBIT C
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                                                                                     National Board al Medical Ex;immcr·
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   March 3, 2016



   Bryan Wellington Messenger
   1113 Magnolia Ln
   Branchburg, NJ 08876

   RE: USMLE Step 2 CK                               USMLE ID#: 0-943-207-1

   Dear Mr. Messenger:

   We have thoroughly reviewed the documentation provided in support of your request for test
   accommodations for the United States Medical Licensing Examination (USMLE) Step 2 Clinical
   Knowledge (CK). We conducted an individualized review of your request in accordance with the
   guidelines set forth in the amended Americans with Disabilities Act (ADA).

   You report the basis of your request to be a reading disorder diagnosed in 2011. In your personal
   statement you write, "/have always had a difficult time with reading. Jn fact, I didn 't even learn to read
   until I was in the second grade. My teacher never noticed because I covered it up by being her 'helper'
   ... Once I was discovered, I was placed in remedial English classes. I went through Jr. High and High
   school thinking I was 'dumb" ... It wasn't until I was teaching at a trade school in the medical department,
   that all of the pieces of the puzzle came together. A group of individuals visited the faculty to demonstrate
   how to look for signs ofdyslexia in our own students, I realized that I could identify with all of the signs
   myself. Three months later, I was tested for a reading disability. One month after that, I began medical
   school at SGU. ..my ability to read and understand information is extremely slow. "

   In a 2011 report of Psycho-Educational Evaluation conducted when you were a 30-year-old college
   graduate, Edward A. Martinelli, Ph.D. writes that you presented for assessment due to concerns about
   entrance into medical school. You reportedly stated that you were disappointed with your MCAT scores.
   Dr. Martinelli concluded, "Bryan is close to meeting criteria for an average person mode/for Basic
   Reading Skills and Phoneme/Grapheme Knowledge on age-based norms ... Difficulties with spelling are
   insufficient to diagnose a writing disorder (per DSM-IV-TR description) and there appeared to be no
   other issues related to writing to justify a diagnoses ofDisorder of Written Expression. Consequently, it is
   the evaluator's determination that given all the data points that show past and current difficulties with
   reading, particularly as the vocabulary and information become more novel and difficult, that Bryan does
   meet the criteria and description for a Reading Disorder. "

   In an unsigned November 2015 report of assessment conducted at the Dyslexia Center of Princeton when
   you were a 33-year-old medical student, your evaluator writes that you sought re-evaluation to document
   a history of specific learning disability in reading so that you can apply for accommodations on the
   USMLE. Your evaluator concluded, "Overall, Bryan [sic] performance on tests ofacademic
   achievement was in the Average range compared to same-age peers ... Bryan 's performance on tests of
   Reading, Written Expression, and Reading Comprehension and Fluency were all in the Average Range.
   He demonstrated clinically significant weakness in Basic Reading skills, with composite score in the low
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   end of the Average range. In addition, he demonstrated poor spelling, sentence composition, and
   grammar and mechanics in composing essays, all at the low end of the Average range. These findings
   support diagnoses of Reading Disorder and Disorder of Written Expression. "

   According to the Diagnostic and Statistical Manual of Mental Disorders, Fifth Edition (DSM-5), a
   specific learning disorder is a neurodevelopmental disorder that first manifests during the years of formal
   schooling (i.e., the developmental period) and is characterized by persistent and impairing difficulties
   with learning foundational academic skills. In adults, persistent difficulty refers to ongoing difficulties in
   literacy skills that manifest during childhood or adolescence, as indicated by cumulative evidence from
   school reports, evaluated portfolios of work, or previous assessments. No school or employment records
   were provided to show a developmental history of problems with reading, writing or learning that
   impacted your academic or occupational functioning or limited a major life activity.

   A key diagnostic feature of a specific learning disorder is that the individual's performance of the affected
   academic skill(s) is well below average for age (DSM-5 Criterion B). The conclusions of your evaluators
   notwithstanding, your 2011 and 2015 performances on a range of cognitive and academic tasks including
   Broad Reading and Broad Written Language, are well within the range of average functioning. Your
   2011 Woodcock-Johnson, Third Edition (WJ-II/) Broad Reading and Broad Written Language were
   Average range, better than 3 5 and 48% of a national sample of same age peers respectively. In 2015,
   every Wechsler Individual Achievement Test, Third Edition (WIAT-Ill) Composite score was also well
   within the range of average functioning.

   Regarding your performances on timed standardized tests, the records provided show that you took the
   MCAT four times under standard condition between April 2007 and May 2010 earning Total Scores of
   24-26, better than 43-55% of a highly select group of medical school applicants. Our records show that
   you successfully completed Step I under standard conditions in 2014. Overall, these data do not
   demonstrate impaired functioning that limits any major life activity.

   The ADA defines disability as a physical or mental impairment that substantially limits one or more
   major life activities. Accommodations are intended to provide access to the USMLE testing program for
   individuals with a documented disability as defined by the ADA. A diagnostic label, in and of itself, does
   not establish coverage under the ADA, nor does prior receipt of accommodations for a particular activity
   guarantee that identical accommodations are indicated or will be available in all future settings and
   circumstances. The ADA covers individuals who are substantially limited in a major life activity.
   Determination of whether an individual is substantially limited in functioning as compared to most people
   is based on assessment of the current impact of the identified impairment.

   Your documentation does not demonstrate a substantial limitation in a major life activity compared to
   most people or that additional testing time is required for you to access the USMLE Step 2 CK.
   Therefore, after a thorough review of all of your documentation, I must inform you that we are unable to
   provide you with the requested accommodations.

   We will request processing of your exam application without test accommodations. You may inquire at
   permits@ecfmg.org or call Applicant Information Services at (215) 3 86-5900 with any questions about
   your scheduling permit.

   Sincerely,

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   Catherine Fanner, Psy.D.
   Director, Disability Services
   ADA Compliance Officer, Testing Programs
